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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

 UNITED STATES OF AMERICA            )
                                     )
 Plaintiff,                          )
                                     )
 vs.                                 )     CAUSE NO. 2:16-CR-174
                                     )
 JEROME ANDERSON,                    )
                                     )
 Defendant.                          )

                                    ORDER

       This matter is before the Court on the Amended Findings and

 Recommendation of the Magistrate Judge Upon a Plea of Guilty by

 Defendant Jerome Anderson (DE #175) filed on August 22, 2017.                 No

 objections have been filed to Magistrate Judge Martin’s findings

 and recommendations upon a plea of guilty.         Accordingly, the Court

 now ADOPTS those findings and recommendations, ACCEPTS the guilty

 plea of Defendant Jerome Anderson, and FINDS the Defendant guilty

 of Count 10 of the Second Superseding Indictment.1

       This matter shall be set for sentencing via separate order.



 DATED: September 7, 2017                  /s/RUDY LOZANO, Judge
                                           United States District Court




       1
          The original Findings and Recommendation of the Magistrate Judge Upon
 a Plea of Guilty by Defendant Jerome Anderson(DE #169) is STRICKEN.
